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                                                                     FILED: April 18, 2025

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                      ___________________

                                            No. 25-1273
                                       (8:25-cv-00462-TDC)
                                      ___________________

        J. DOES 1-26

                     Plaintiff - Appellee

        v.

        ELON MUSK, in his official capacity; UNITED STATES DOGE SERVICE;
        DEPARTMENT OF GOVERNMENT EFFICIENCY

                     Defendants - Appellants

                                      ___________________

                                           ORDER
                                      ___________________

              The court grants an extension of the briefing schedule. Any further request

        for an extension of time in which to file the opening brief and joint appendix shall

        be disfavored. The briefing schedule is extended as follows:

              Joint appendix due: 06/13/2025

              Opening brief due: 06/13/2025

              Response brief due: 07/14/2025
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              Any reply brief: 21 days from service of response brief.

                                              For the Court--By Direction

                                              /s/ Nwamaka Anowi, Clerk
